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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                Plaintiff,                             Case No. CR03-493L
11         v.                                            ORDER RETURNING PROPERTY
12                                                       AND APPLYING $17,280 TOWARD
     GARY WILLIAMS,                                      DEFENDANT’S RESTITUTION
13                                                       OBLIGATION
                  Defendant.
14
15        This matter comes before the Court on defendant’s “Motion for Return of Property” (Dkt.

16 # 371). Having considered all of the relevant information and the circumstances of this case,
17 defendant’s motion is GRANTED IN PART AND DENIED IN PART. The following items
18 shall be returned to defendant:
19        1.     Item H2 of FBI File Number 29B-SE-88714 - credit cards, account statements, and
                 notes;
20
          2.     Item H4 of FBI File Number 29B-SE-88714 - gold ring;
21
          3.     Item H6 of FBI File Number 29B-SE-88714 - address book with credit card
22               information;

23        4.     Item H7 of FBI File Number 29B-SE-88714 - Compaq laptop with case;

24        5.     Item A2 of FBI File Number 29B-SE-88714 - Sprint cellular telephone;

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26
     ORDER RETURNING PROPERTY AND
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1           6.     Item B2 of FBI File Number 29B-SE-88714 - boxed paper shredder;
2           7.     Item D2 of FBI File Number 29B-SE-88714 - hat, Stetson straw open weave;
3           8.     Item D3 of FBI File Number 29B-SE-88714 - hat, Stetson straw;
4           9.     Item D4 of FBI File Number 29B-SE-88714 - hat, Stetson brown felt;
5           10.    Item D5 of FBI File Number 29B-SE-88714 - hat, Stetson black felt; and
6           11.    Item D6 of FBI File Number 29B-SE-88714 - hat, Fiesta straw; and hat, NY4
                   straw.
7
            Defendant also requests that $7,280.00 in cash seized during his arrest be returned to him.
8
     The government contends that the seized money, along with an additional $10,000 obtained
9
     during the course of the investigation of defendant, should not be returned but instead should be
10
     applied to satisfy defendant’s restitution obligations. A restitution order “gives the government a
11
     sufficient cognizable claim of ownership to defeat a defendant’s . . . motion for return of
12
     property, if that property is needed to satisfy the terms of the restitution order.” U.S. v. Mills,
13
     991 F.2d 609, 612 (9th Cir. 1993). Accordingly, defendant’s motion is denied with respect to
14
     the $7,280 seized during his arrest and the $10,000 obtained during the subsequent investigation.
15
     The $17,280 currently in the possession of the Federal Bureau of Investigation, File Number
16
     29B-SE-88714, shall be provided to the Clerk of the Court to be applied towards Defendant’s
17
     restitution obligation.
18
19
            DATED this 8th day of August, 2005.
20
21
22                                                      A
                                                        Robert S. Lasnik
23                                                      United States District Judge
24
25
26
      ORDER RETURNING PROPERTY AND
      APPLYING $17,280 TOWARD
      DEFENDANT’S RESTITUTION
      OBLIGATION

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